      Case 1:25-cv-00289-ABJ          Document 1-1        Filed 01/31/25   Page 1 of 171



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 DANIEL FAORO,


        Plaintiff,                                         No. -cv-

 v.

 JEWISH VOICE FOR PEACE, INC.
 D/B/A OCCUPATION FREE DC, DISSENTERS,
 PALESTINIAN YOUTH MOVEMENT A PROJECT OF                DECLARATION OF NEVILLE HEDLEY
 WESPAC FOUNDATION, INC., WESPAC
 FOUNDATION, INC., HARRIET’S WILDEST
 DREAMS, INC., DORNETHIA “NEE NEE” TAYLOR,
 PARTY OF SOCIALISM & LIBERATION, BRIAN
 BECKER, MARYLAND2PALESTINE, HANNAH
 SHRAIM, AND 23 JOHN AND JANE DOES



        Defendants.


        I, Neville S. Hedley, declare as follows:

        1.     I have personal knowledge of the facts set forth herein and that the Exhibits to

this Declaration are true and accurate copies of internet sites and social media accounts that

I personally accessed and viewed, and, if called as a witness, could and would testify

competently thereto.

        2.     My full legal name is Neville Spencer Hedley. I reside in North Carolina and my

business address is Hamilton Lincoln Law Institute, 1629 K Street, NW, Suite 300,

Washington, DC, 20006. My email address is ned.hedley@hlli.org.

                        BACKGROUND ON BLOCKADE ORGANIZERS

        3.     On or about March 1, 2024, I searched the Internal Revenue Service website,

www.IRS.gov, which contains an Exempt Organization Business Master File Extract (EO

BMF);        www.IRS.gov/charities-non-profits/exempt-organizations-business-master-file-



                                                    1
        Case 1:25-cv-00289-ABJ     Document 1-1      Filed 01/31/25     Page 2 of 171




extract-eo-bmf. The file “provides information about an organization from the Internal

Revenue Service’s Business Master File.” This list functions as a Tax-Exempt Organization

Search tool.

         4.    The tax-exempt organization list is broken out by state and by region. The

regions are: Region 1 Northeast area; Region 2, mid-Atlantic and Great Lakes area; Region 3,

Gulf Coast and Pacific Coast areas; and Region 4, including International areas and Puerto

Rico.

         5.    States and Regions are determined by the filing address and represent the

location of an organization’s headquarters. The records are also sorted by the Employee

Identification Number (EIN).

         6.    The version of the Tax Exempt Organization Search tool I reviewed noted that

it had been updated on February 13, 2024.

         7.    Each State or Region exempt organization list can be downloaded into an Excel

spreadsheet from the tool on the IRS website.

         8.    The IRS website also has a Tax Exempt Organization search feature,

www.apps.irs.gov/app/eos/, which allows individuals to search for exempt organizations
and access relevant information like determination letters or filings of IRS Form 990s. On

September 9, 2024, I accessed this site and performed a search for the organizations and

entities referenced in the complaint accompanying this declaration.

         9.    The Internal Revenue Service permits organizations that are tax-exempt

under Internal Revenue Code (I.R.C.) Section 501(c)(3) to sponsor other organizations,

entities or programs that are not formal nonprofit entities. It is a contractual relationship

between the sponsoring tax-exempt organization and the entity being sponsored, thereby

allowing that entity to attract tax-deductible funding without having to formally become a

tax-exempt organization. The sponsoring entity maintains control over the donated funds,

but such funds are restricted and dedicated to furthering the sponsored entity’s purpose and




                                             2
      Case 1:25-cv-00289-ABJ             Document 1-1              Filed 01/31/25    Page 3 of 171




goals. See Gene Takagi, Fiscal Sponsorship: A Balanced Overview, Nonprofit Quarterly (Jan. 28,

2020) (attached as Exhibit 1).

       10.        Based on internet searches and media reports, I determined that there were

six organizations that had organized an action on February 1, 2024 in Washington, D.C. to

protest the armed conflict between Israel and Palestinians in the Gaza Strip. The six entities

or organizations that sponsored the action were: Occupation Free DC; the Palestinian Youth

Movement (PYM); Harriet’s Wildest Dreams (HWD); Dissenters DMV; the Party for Socialism

and        Liberation           (PSL);         and           Maryland2Palestine           (MD2Palestine).

www.instagram.com/p/C2h-zjauR9t/?img index=1 (Exhibit 2)
       11.        Palestinian       Youth      Movement            (PYM)      maintains       a        website,

www.palestinianyouthmovement.com. The website describes PYM as “a transnational,

independent, grassroots movement of young Palestinians in Palestine and in exile worldwide

as a result of the ongoing Zionist colonization and occupation of our homeland.” (Exhibit 3)

       12.        PYM maintains an account on the social media platform X (formerly known as

Twitter), www.X.com/palyouthmvmt, with a username of @palyouthmvmt. It also maintains

an Instagram account, www.instagram.com/palestinianyouthmovement, with a username of

@palestinianyouthmovement, with a back-up account, www.instagram.com/palyothmvmt,

and a username of @palyouthmvmt. The PYM website has icons that link directly to these

respective social media accounts.

       13.        PYM’s website notes that it has 14 chapters across North America. One of those

chapters     is    in   Washington,         D.C.,    which     has     its    own    Instagram         account,

www.instagram.com/dmvpym/, with a username of @dmvpym.

       14.        PYM is unincorporated and is not listed as a 501(c)(3) entity with the IRS. The

PYM     website         has     a    page       stating      its     vision    and     what       it      does.

www.palestinianyouthmovement.com/about (Exhibit 4) The web page notes that PYM has

a National Executive Board and lists emails to contact board members, but the email




                                                      3
     Case 1:25-cv-00289-ABJ        Document 1-1      Filed 01/31/25     Page 4 of 171




addresses are generic emails with no individual names. For instance, the email for the

General Coordinator is gc@pymusa.com.

       15.    On PYM’s homepage of its website there is a tab marked “Donate.” During the

relevant time, clicking the donate icon would direct a person to a webpage hosted by

goodbricks.org. This page allowed individuals to make online donations that purport to be

tax deductible. The bottom of the page contained text stating “All donations are tax

deductible. You will receive a follow-up email with the relevant info. We also accept checks

payable to ‘WESPAC Foundation’ and mailed to 77 Tarrytown Rd, Suite 2W, White Plains NY

10607. Please indicate ‘PYM’ in the memo line.” (Exhibit 5)

       16.    WESPAC Foundation maintains a website, www.wespac.org. WESPAC
Foundation describes itself as “a leading force for progressive social change in Westchester

County, New York since 1974” and that it has “been educating, agitating and organizing for a

more just and peaceful world, an end to militarism and racism and a more fair economy that

works for all.” The bottom of the webpage lists the address of the WESPAC Foundation as 77

Tarrytown Rd., White Plains, NY 10607. (Exhibit 6)

       17.    A search for WESPAC Foundation on the exempt organization list for New York

State shows that WESPAC Foundation, Inc., is an exempt organization under I.R.C. Section

501(c)(3), and the address on file with the IRS is 77 Tarrytown Road, Suite 2W, White Plains,

NY 10607.

       18.    During the relevant time, PYM was a project of WESPAC Foundation and

WESPAC acted as the fiscal sponsor and the formal legal entity to accept tax-exempt

donations for PYM pursuant to I.R.C. Section 501(c)(3). WESPAC also acted as the fiscal

sponsor for similar organizations such as National Students for Justice in Palestine (NSJP)

and US Palestinian Community Network (USPCN).

       19.    Sometime after April 22, 2024, PYM altered the donation page on its website

which reflects a new fiscal sponsor, Honor the Earth, which according to information on file

with the IRS, is a 501(c)(3) exempt organization with an address of 607 Main Avenue,


                                             4
      Case 1:25-cv-00289-ABJ        Document 1-1        Filed 01/31/25    Page 5 of 171




Calloway, MN 56521. The revised PYM donation page still links to goodbricks.org, and notes

that paper checks should be made “payable to ‘Honor the Earth’ and mailed to 1430 Haines

Ave           STE      108         #225,           Rapid       City,        SD,        57701.”

www.goodbricks.org/cause/palestinianyouthmovement.com/donate-pym (Exhibit 7). This

is the same address listed on the bottom of Honor the Earth’s website. www.honorearth.org

(Exhibit 8)

       20.      Honor the Earth’s website lists its Board Members, one of whom is Lenna

Zahran Nasr; www.honorearth.org/board. (Exhibit 9) Nasr’s biography notes that she lives
in Austin, Texas and “currently serves as a lead organizer with Palestinian Youth Movement.”

(Exhibit 10) On information and belief, Nasr is also known as Courtney Lenna Schirf and

Lenna Schirf, who has a LinkedIn profile under the name Lenna Schirf and indicates that she

lives in Austin, Texas, www.linkedin.com/in/clschirf/. (Exhibit 11) Schirf, aka Nasr, was

named as a defendant in the case Helman et al. v. Codepink Women for Peace, et al., No. 24-cv-

5704 (C.D. Cal., Dkt. 18, Aug. 16, 2024), which alleges that Schirf, in her capacity as a leader

for PYM, was involved in a violent protest outside a synagogue in Las Angeles, California

which violated the FACE Act, 18 U.S.C. § 248(a)(2).

       21.      Occupation Free DC maintains a website, www.occupationfreedc.org. The

website states that the campaign “aims to end DC Metropolitan Police Department (MPD)

participation in US-Israeli ‘counter-terrorism’ police exchanges.” Occupation Free DC

maintains an account at X, www.twitter.com/OFDC Campaign, with a username of

@OFDC_Campaign, and an Instagram account, www.instagram.com/OccupationFreeDC,

with a username of @occupationfreedc. The occupationfreedc.org website has icons that link

directly to these social media accounts. (Exhibit 12)

       22.      The website indicates that Occupation Free DC is a campaign from Jewish

Voice for Peace DC Metro chapter and Deadly Exchange. (Exhibit 12)

       23.      Jewish Voice for Peace DC Metro maintains a webpage, www.jvpdc.org, and

has an account on X, www.X.com/JVPDCMetro, with a username of @JVPDCMetro, and an


                                               5
     Case 1:25-cv-00289-ABJ           Document 1-1     Filed 01/31/25     Page 6 of 171




account on Instagram, www.instagram.com/JVPDCMetro, with a username of @jvpdcmetro.

The jvpdc.org website has icons that link directly to these respective social media accounts.

(Exhibit 13)

       24.     Deadly Exchange maintains a website, www.deadlyexchange.org, which states

that it is aimed at “Ending US-Israel Police Partnerships, Reclaiming Safety.” The bottom of

the webpage lists Jewish Voice for Peace, with an email contact of Info@Jvp.Org, and an

address of P.O. Box 589, Berkley, CA 94701. (Exhibit 14)

       25.     Jewish     Voice       for   Peace      (JVP)     maintains      a     website,

www.jewishvoiceforpeace.org, where it describes itself as “the largest progressive Jewish
anti-Zionist organization in the world.” The address at the bottom of the webpage is the same

as the address on the Deadly Exchange website. (Exhibit 15)

       26.     JVP maintains an account on X, www.X.com/jvplive, with a username of

@jvplive, and an account on Instagram, www.instagram.com/jewishvoiceforpeace/, with a

username of @jewishvoiceforpeace. The JVP website has icons that link directly to these two

social media accounts. (Exhibit 15)

       27.     The Occupation Free DC website includes a tab to make a donation. The tab

links to a secure donation page, secure.everyaction.com/YqgJbK02t0iuMJwSxsYc A2, from

which to donate to the DC Metro Chapter of a Jewish Voice for Peace. The bottom of the page

notes that those who wish to donate by check should mail checks to P.O. Box 589, Berkeley,

CA 94701. This is the same address listed on JVP’s website and on the Deadly Exchange

website. (Exhibit 16)

       28.     A search for JVP on the California Secretary of State’s website lists an address

for JVP of 2342 Shattuck Avenue, #321, Berkeley, California 94704, and a registered agent of

Registered Agents, Inc.

       29.     Dissenters maintains a website, www.wearedissenters.org, and describes

itself as “leading a new generation of young people to reclaim our resources from the war




                                               6
      Case 1:25-cv-00289-ABJ         Document 1-1          Filed 01/31/25    Page 7 of 171




industry, reinvest in life-giving services, and repair collaborative relationships with the earth

and people around the world.” (Exhibit 17)

       30.     Dissenters maintains an account on X, www.X.com/wearedissenters, with a

username       of   @wearedissenters,       and     also      has   an      Instagram   account,

www.instagram.com/wearedissenters/,          with   a      username      @wearedissenters.   The

wearedissenters.org website has icons that link directly to these two social media accounts.

(Exhibit 17)

       31.     Dissenters has a chapter in the D.C. metro area which maintains an Instagram

account, www.instagram.com/dmvdissenters/, with a username @dmvdissenters.
       32.     Dissenters is an Illinois corporation. A search for Dissenters on the exempt

organization list for Region 2 shows that Dissenters is an exempt organization under I.R.C.

Section 501(c)(3), and the address on file with the IRS is 637 South Dearborn Avenue,

Chicago, Illinois, 60505.

       33.     Harriet’s Wildest Dreams (HWD) is a Maryland corporation and maintains a

website, www.harrietsdreams.org, describing itself as “a Black-led community defense hub”

dedicated to the abolition of prisons and policing. HWD maintains an account on X,

www.X.com/harrietsdreams, with a username @HarrietsDreams, and an Instagram account,

www.instagram.com/harrietsdreams, with a username @harreitsdreams. The HWD website

has icons that link directly to these social media accounts. The bottom of the HWD webpage

lists an address of 6368 Coventry Way, Suite 313, Clinton, Maryland, 20735. (Exhibit 18)

       34.     A search for Harriet’s Wildest Dreams on the exempt organization list for the

state of Maryland shows that Harriet’s Wildest Dreams, Inc., is an exempt organization under

I.R.C. Section 501(c)(3), and the address on file with the IRS is 6368 Coventry Way, Suite 313,

Clinton, Maryland, 20735-2256.

       35.     The HWD website has a page that lists the staff members. Nee Nee Taylor is

listed as a Co-founder and Executive Director. On information and belief, Taylor has an

account on Instagram, www.instagram.com/neeneetay/, with a username @NeeNeeTay,


                                               7
     Case 1:25-cv-00289-ABJ         Document 1-1       Filed 01/31/25      Page 8 of 171




and the account page notes that she is Executive Director of HWD. The Maryland Secretary

of State’s office indicates that Dornethia Taylor is the president and registered agent for

HWD and lists the address in ¶ 33 as the address for the registered agent. On information

and belief, Dornethia Taylor and Nee Nee Taylor are the same person. (Exhibit 19)

       36.    The Party for Socialism and Liberation (PS&L) maintains a website,

www.pslweb.org. The homepage includes a link to a webpage that lists PSL branches across

the United States, including a branch in Washington, D.C. that lists a phone number, 202-234-

2828, as a contact.

       37.    PS&L publishes Liberation News, the newspaper of the PS&L, and which has a

website www.liberationnews.org. Brian Becker is a writer for Liberation News which
describes him as a “founder of and a central organizer for the Party for Socialism and

Liberation.” (Exhibit 20) He is also National Coordinator of the ANSWER Coalition and in that

role, he was identified as the Person In Charge for a Public Gathering Permit issued by the

National Park Service for a protest on July 24, 2024 at Union Station in the District to protest

the speech by Israeli President Benjamin Netanyahu before the United States Congress.

(Exhibit 21) The address listed on the permit application is 617 Florida Avenue, NW,

Washington, DC 20001, which is also the address listed as the National Office for the

ANSWER Coalition on its website, www.answercoalition.org/contact us.

       38.    PS&L maintains an X account, www.X.com/pslnational, with a username

@pslnational, as well as an Instagram account, www.instagram.com/pslnational, with a

username @pslnational. The PS&L website has icons that link directly to these two social

media accounts. (Exhibit 22) The DC branch maintains an Instagram account,

www.instagram.com/psldc/, with a username @psldc.

       39.    The     PSL   website     also   includes    a   link   to    make    donations,

www2.pslweb.org/donate. Prospective donors who would rather write a check rather than

make an online donation are directed to mail checks to “Liberation News, 3041 Mission St.,

#151, San Francisco, CA 94110. (Exhibit 23)


                                               8
     Case 1:25-cv-00289-ABJ         Document 1-1       Filed 01/31/25        Page 9 of 171




       40.    A search of the IRS’s database of exempt organizations and a search of the IRS’s

database of political organizations, www.forms.irs.gov/app/pod/basicSearch/search failed

to turn up any records of filings with IRS. A search for PS&L at the website of the Federal

Elections Commission, www.fec.gov/data/browse-data/?tab=filings, shows that the last

filing for the PS&L was for the Presidential election of 2016.

       41.    Maryland2Palestine         (MD2Palestine)          maintains       a       website,

www.md2palestine.com, and describes itself as “a grassroots Palestinian-led organization in

the DMV building towards a free Palestine.” MD2Palestine has an X account,

www.X.com/md2palestine, with a username of @md2palestine, and an Instagram account,
www.instagram.com/md2palestine, with a username of @md2palestine. It also maintains a

Facebook account, www.facebook.com/MD2Palestine. The MD2Palestine website has icons

that link directly to these social media accounts. The MD2Palestine website does not list any

address or any other form of contact information. (Exhibit 24)

       42.    Searches of the IRS exempt organization lists for the State of Maryland and

Region 1 and the exempt organization search website does not include any reference to an

organization with the name Maryland2Palestine or MD2Palestine. The WHOIS information

for the site indicates a private registration (no information about the site’s owner).

       43.    Hannah Shraim is the co-chair of MD2Palestine, as reflected by an Instagram

post, www.instagram.com/p/Cr6DuSwtMv8/. (Exhibit 25) She has an Instagram account

with a username of @falastinnah which notes that she is an organizer for @md2palestine.

www.instagram.com/falastinnah/ (Exhibit 26) Shraim has published posts on Instagram

that reference @md2palestine and joint posts to both her and the @md2palestine Instagram

account, several of which highlight her as the featured speaker at protests or rallies

sponsored by MD2Palestine. (Exhibit 27) In March 2023, Shraim represented MD2Palestine

at a forum at the University of Maryland, the college from which she graduated, to discuss

Palestinian advocacy. MD2Palestine profiled this event on its Facebook page. (Exhibit 28)




                                              9
     Case 1:25-cv-00289-ABJ           Document 1-1          Filed 01/31/25      Page 10 of 171




        44.   JVP’s website includes a page dedicated to an action organized by JVP to shut

down     Grand      Central   Station    in   New        York   City    on     October    27,   2023;

www.jewishvoiceforpeace.org/2023/10/30/wire-grand-centralaction/.                        The      page

highlights that the group “shut down Grand Central Station” during a Friday rush hour,

completing shutting down the station. The page also notes that over 350 people were

arrested.

        45.   JVP’s website also includes a page highlighting that JVP organized actions in

eight   different    cities   where     activists    shut    down      eight   bridges     to   traffic;

www.jewishvoiceforpeace.org/2023/12/18/wire-8-bridges/. The actions coincided with
the eighth night of Hanukkah and noted that thousands of activists blocked traffic in

Philadelphia, Washington, D.C., Atlanta, Chicago, Minneapolis, Seattle, Portland, Los Angeles,

and San Diego.

        46.   At least four of the defendants, PYM, JVP (via OccupationFreeDC), PS&L, and

MD2Palestine appear to have organized and promoted a similar blockade on the George

Washington Parkway near Reagan National Airport on January 13, 2024. In that action, the

activists used a convoy of cars flying Palestinian flags to impede and severely slow traffic on

the Parkway approaching the airport. The defendants proudly publicized the action on social

media accounts. (Exhibit 29.)

                                        EVIDENCE OF CONSPIRACY

        47.   On January 25, 2024, the Instagram account @dmvpym, in collaboration with

@occupationfreedc, @palestinianyouthmovement, @md2palestine, @harrietsdreams, and

@psldc, posted flyers and notices regarding the scheduled February 1, 2024, action at 7:00

a.m. at Union Station. The flyer noted that the organizers of the action were: PYM, DMV

Dissenters, HWD, Occupation Free DC, PSL and MD2Palestine, www.instagram.com/p/C2h-

zjauR9t/. (Exhibit 2)

        48.   On January 25, 2024, @dmvdissenters and @wearedissenters posted a similar

flyer but with a caption reading “GENERAL STRIKE FOR PALESTINE NO WORK NO SCHOOL


                                                    10
     Case 1:25-cv-00289-ABJ         Document 1-1           Filed 01/31/25    Page 11 of 171




NO SHOPPING” and noted the date, time and location of the action as 7 am February 1 at

Union Station. The flyer listed the six entities organizing the action and included text stating

“In ONE WEEK, join DMV Dissenters @dmvpym @occupationfreedc @harrietsdreams

@md2palestine and @psldc for a rally for Palestine at Union Station to disrupt business as

usual in the heart of U.S. empire.” www.instagram.com/p/C2iJBRYRxWd/ (Exhibit 30.)

       49.     The organizers’ six Instagram accounts published a post on January 27, 2024

with a headline stating “IN 5 DAYS DC WILL SHUT IT DOWN FOR PALESTINE” and noted

time and location as 7:00 am at Union Station. (Exhibit 31.)

       50.    On January 29, 2024, @dmvpym, in collaboration with @dmvdissenters,

@occupationfreedc, @palestinianyouthmovement, and @psldc, posted on their Instagram

accounts a similar notice regarding the February 1, 2024 action at Union Station. This post

included 8 slides stating that the action would be in three days and noting the time and

location. The remaining slides set out a list of demands by the activists.

www.instagram.com/p/C2sqWDPx3nq??img index=1 (Exhibit 32.)
       51.    On January 30, 2024, the Instagram accounts @harrietsdreams and

@neeneetay posted a video that included the flyer publicizing the action at Union Station on

February 1 at 7:00 am and listing the six organizations sponsoring the action. Text

accompanying the posted video stating “@harrietsdreams is asking all our followers to join

us in solidarity with our Palestinian comrades to demand a Cease Fire Now on Thursday, 7

am! Meet us at Union Station.” www.instagram.com/p/C2ud4HiL-TC/ (Exhibit 33.)

       52.    On     January     31,    2024,        @dmvpym,       @dmvdissenters,     @psldc,

@palestinianyouthmovement, and @md2palestine again published a joint post publicizing

the action scheduled for February 1, 2024 at 7:00 am at Union Station along with the caption

“TOMORROW           DC      WILL        SHUT          IT      DOWN          FOR    PALESTINE.”

www.instagram.com/p/C2xWTnLuFZG/ (Exhibit 34.)

       53.    On February 1, 2024, the Instagram account @dmvpym, in collaboration with

@palestinianyouthmovement, @occupationfreedc, @md2palestine, and @dmvdissenters


                                                11
     Case 1:25-cv-00289-ABJ        Document 1-1      Filed 01/31/25     Page 12 of 171




published a post with still photos showing the blockades, including photographs of activists

that had chained themselves together or that were linked together with PVC piping, and

blocking intersections. The post included photographs of activists being arrested and was

accompanied by the caption “Another major US-city was shutdown for Palestine.” The post

also noted that the action caused “severe traffic jams all throughout the capital.”

www.instagram.com/p/C2zwbm1uQk8/?img index=1 (Exhibit 35.)

       54.      Another post from the same Instagram account, @dmvpym, in collaboration

with @occupationfreedc, @palestinianyouthmovement, @psldc, and @dmvdissetners,

included a picture of a traffic map that showed traffic stopped from the District well into

suburban Virginia, and included the caption “HAPPENING NOW! Pro-Palestine, anti-Zionist

protestors stage an act of mass civil disobedience today, blocking traffic in and out of

Washington,           DC         while        Congress          is        in         session.”

www.instagram.com/p/C2zrb8 uP2k/?img index=1 (Exhibit 36.)
       55.      The @dmvpym Instagram account also published a post on February 1, 2024

that included 8 slides with pictures and videos showing activists blockading traffic. The text

accompanying the post stated “5 major entrances into Washington, DC HAVE BEEN SHUT

DOWN.” www.instagram.com/p/C2znqgTuQ97/?img index=1 (Exhibit 37.)

       56.      On February 1, 2024, Occupation Free DC published to its Instagram account,

@occupationfreedc, a video of activists blocking traffic in the District with accompanying

text stating “Hundreds of protestors are currently rallying at Union Station and blocking five

major highways into D.C.” www.instagram.com/p/C2zymu1uL56/ (Exhibit 38.)

       57.      On February 1, 2024, the @occupationfreedc Instagram account joined with

the Instagram account of the U.S. Campaign for Palestinian Rights (USCPR), @uscpr, to post

five slides with pictures of activists blockading traffic accompanied by text stating “Five

major intersections in DC have been blocked, disrupting the morning commute for

thousands in the belly of the beast.” www.instagram.com/p/C2zrMphiWxD/?img index=1

(Exhibit 39.)


                                             12
     Case 1:25-cv-00289-ABJ        Document 1-1         Filed 01/31/25     Page 13 of 171




       58.    USCPR also collaborated with the Instagram account @jvpmetrodc to post a

video on February 1, 2024 of activists blockading traffic and the response of law

enforcement. The text with the post stated “DC IS SHUTDOWN FOR PALESTINE.”

www.instagram.com/p/C20CWqQClyX/ (Exhibit 40.)

       59.    HWD’s Instagram account, @harrietsdreams, posted two items on February 1,

2024 related to the blockade. One post was a video of activists marching and blocking traffic

accompanied by text stating “We are currently shutting down five major intersections in DC

demanding a #CeaseFireNow #freepalestine.” www.instagram.com/p/C2zqzulOLG2/
(Exhibit 41.) The second post was a video outside a United States Park Police station

advocating     for       support    for     activists      who       had     been        arrested.

www.instagram.com/p/C2z PYvualx/ (Exhibit 42.)

       60.    On February 1, 2024, PS&L used its national and DC affiliate Instagram

accounts, @pslnational and @psldc, to publish two video posts along with the Instagram

account @dmvpym. Both videos showed activists either marching or blockading traffic,

including video clips showing individuals chained together or linked by PVC piping while

blocking traffic. One post had text accompanying the video stating “Right now: Protestors in

Washington DC have blocked the intersection in front of the US State Department, which has

continually     funded       and    armed       the      Israeli     genocide       of     Gaza.”

www.instagram.com/p/C2zm8OCOq10/ (Exhibit 43.) The other post was accompanied by

text stating “HAPPENING NOW: Hundreds take to the streets of Washington DC to disrupt

business as usual.” www.instagram.com/p/C2zrKvYOo1Q/ (Exhibit 44.)

       61.    On February 1, 2024, Dissenters posted or re-posted on its X account four

items related to the blockade. One post included text that stated “This morning hundreds of

protestors rallied at Union Station and blocked five major roadways in D.C. We #ShutItDown

during the morning commute for hundreds of government employees enabling Israel’s

ongoing           genocide           against             Palestine          in            Gaza!!”

www.X.com/wearedissenters/status/1753101554218139823 (Exhibit 45.)


                                               13
       Case 1:25-cv-00289-ABJ          Document 1-1         Filed 01/31/25     Page 14 of 171




        62.    On   February      1,    2024,     the    Instagram      accounts    @dmvdissenters,

@wearedissenters, and @dmvpym posted a video showing individuals blockading traffic

and interviewing some of the participants. The caption with the post stated “NO BUSINESS

AS USUAL FOR WAR CRIMINALS” and text accompanying the post stated “FIVE major

roadways are blocked coming into DC.” www.instagram.com/p/C2ztc6pOTGM/ (Exhibit

46.)

        63.    On February 2, 2024, @dmvpym and @md2palestine collaborated on an

Instagram post with @dmvdissenters soliciting support and assistance for 11 of the 23

arrested activists who remained in custody. The caption of the post read “DROP THE

CHARGES EMERGENCY JAIL SUPPORT.” www.instagram.com/p/C21U5H uNoD/ (Exhibit
47.)

        64.    On February 3, 2024, @dmvpym, in collaboration with @dmvdissenters,

@psldc, @occupationfreedc and @palestinianyouthmovement, published a video

approximately one minute and 30 seconds long that included photos and video clips showing

activists blocking roadways in the District and listing the five locations that were blockaded.

The high production quality video also included video footage from local news broadcasts

showing the blockades, one of which noted that law enforcement had been fooled into

believing that the action would only be at Union Station because of the “decoy” flyers that

had     been   published     in    the     days        leading    up    to    February    1,    2024.

www.instagram.com/p/C249bHtu9C5/ (Exhibit 48.)

        65.    On February 6, 2024, DMV Dissenters published to its Instagram account a

post that included a video of the blockades with a caption that read “FIVE MAJOR

INTERSTATES INTO DC SHUT DOWN FOR PALESTINE!!” The text accompanying the post

stated “Last week DMV Dissenters joined @dmvpym @md2palestine @psldc @shutdowndc_

@occupationfreedc       @jvpdcmetro             and      others    to        SHUT    DC        DOWN.”

www.instagram.com/p/C3CBpVWt9FU/ (Exhibit 49.)




                                                  14
     Case 1:25-cv-00289-ABJ         Document 1-1          Filed 01/31/25     Page 15 of 171




       66.      On February 9, 2024, the Instagram account @jvpmetrodc posted 2 videos and

3 slides with pictures of activists blockading traffic on February 1, 2024. The text

accompanying the post stated “One week ago, JVP-DC Metro helped @dmvpym

@dmvdissenters @harrietsdreams @occupationfreedc @psldc and others shut down 5 main

roadways     into    downtown    DC.”   www.instagram.com/p/C3HkcoAO9l /?img index=1

(Exhibit 50.)

       67.      On    February    21,    2024,      the    Instagram       accounts   @dmvpym,

@palestinianyouthmovement, @harrietsdreams, @md2palestine, and @psldc published a

post highlighting the February 1, 2024 blockades. The post included seven slides and

requested that supporters attend upcoming virtual court hearings for 16 of the 23 arrested

activists        who         were          still          facing       potential        charges.

www.instagram.com/p/C3nZh1YO2Nu/?img index=1 (Exhibit 51.)
       68.      The accounts on the social media platforms Facebook, X and Instagram

associated with the six entities that organized the February blockades contain other posts or

reposts similar to the posts referenced herein. These posts contain many of the same or

similar images and videos that publicized the action prior to and on February 1, 2024.

Likewise, the social media accounts of allied entities like Shut Down DC (@shutdowndc) and

USCPR amplified the organizers’ message by posting or reposting videos and images of

activists blockading traffic in the District on February 1, 2024.




                                               15
     Case 1:25-cv-00289-ABJ       Document 1-1      Filed 01/31/25   Page 16 of 171




       I declare under penalty of perjury under the laws of the United States that the

forgoing is true and correct.

       Executed on January 30, 2025, in Charlotte, North Carolina.




                                           Respectfully Submitted,

                                           By:

                                            Neville S. Hedley (DC Bar No. 485259)




                                            16
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 17 of 171




                         EXHIBIT 1




                                 17
1/30/25, 7:36 PM                                                         Fiscal Sponsorship: A Balanced Overview - Non Profit News | Nonprofit Quarterly
                       Case 1:25-cv-00289-ABJ                               Document 1-1                          Filed 01/31/25                           Page 18 of 171




         Fiscal Sponsorship: A Balanced Overview




         This article was first posted online on January 19, 2016.

         Fiscal sponsorship is an option that may be available to a person, group, or business to attract charitable funding
         without starting a nonprofit. It may allow an individual artist to fund the creation of a mural, a group to hold a
         crowdfunding campaign for pediatric cancer research, or a manufacturer to create and distribute products to regions
         devastated by a recent natural disaster.

         When done right, fiscal sponsorship is a valuable alternative to starting a nonprofit that produces private and public
         efficiencies through shared administration and fewer nonprofits requiring fiduciary and regulatory oversight.

         But when done wrong, fiscal sponsorship may result in an individual or for-profit company inappropriately deriving a
         private benefit from charitable contributions. This may occur when the fiscal sponsor acts as a mere conduit for
         contributions to flow to the individual or company without exercising the required control and oversight.


         A Definition
         The term fiscal sponsorship broadly refers to a number of contractual relationships that allow a person, group, or
         business to advance charitable or other exempt activities with the benefit of the tax-exempt status of a sponsor
         organization. These relationships are cogently described in Greg Colvin’s seminal book, Fiscal Sponsorship: Six Ways to
         Do It Right. The most widely used models of fiscal sponsorship for charitable projects are:

                   Comprehensive (referred to by Colvin as “Model A”), in which the assets, liabilities, and exempt activities
                   collectively referred to as the project are housed within the fiscal sponsor; and



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https://nonprofitquarterly.org/fiscal-sponsorship-a-balanced-overview/                                                                                                      1/4
1/30/25, 7:36 PM                                                         Fiscal Sponsorship: A Balanced Overview - Non Profit News | Nonprofit Quarterly
                      Case 1:25-cv-00289-ABJ Document 1-1 Filed 01/31/25 Page 19 of 171
                   Pre-approved grant relationship (referred to by Colvin as “Model C”), in which the project is run by a separate
                   entity funded by the fiscal sponsor.


         How Fiscal Sponsorship Works
         Donations to fiscally sponsored projects are directed to a tax-exempt fiscal sponsor. Most commonly, the fiscal sponsor
         is a public charity exempt under Section 501(c)(3) of the Internal Revenue Code and a qualified recipient of charitable
         contributions that are deductible to the donor. The donations intended to support a particular project are treated as
         restricted funds dedicated to furthering that project’s charitable purpose.

         The fiscal sponsor must then decide how to use those funds. It may not cede its ultimate control and decision-making
         authority over the funds to the project leaders. But the fiscal sponsor may delegate management of the funds to
         specific employees, contractors, or volunteers of the fiscal sponsor (comprehensive fiscal sponsorship). Alternatively, it
         may grant the funds to a suitable grantee that it vetted earlier (pre-approved grant relationship fiscal sponsorship).

         Comprehensive Fiscal Sponsorship
         In the comprehensive model, the party entering into the fiscal sponsorship agreement with the fiscal sponsor is
         generally giving up all ownership and control of the project to the sponsor and retaining only the right to enforce,
         amend, or terminate the agreement and have the project transferred to another qualified fiscal sponsor. In contrast to
         the fiscal sponsor, the other party to the agreement is not a tax-exempt entity able to directly receive deductible
         charitable contributions and is likely not properly registered to solicit charitable funds or assets. Most often, it’s just
         some form of steering committee with minimal activity of its own, which helps minimize any risk that might otherwise
         be borne by its members.

         When working on the fiscally sponsored project, the individuals associated with the other party to the agreement serve
         as employees, volunteers, or other agents of the fiscal sponsor. Accordingly, if they are fundraising for the project, they
         are fundraising on behalf of the fiscal sponsor as agents of the fiscal sponsor. Similarly, if they are managing the
         activities and affairs of the project, they are doing so as agents of the fiscal sponsor, which may afford them the
         protection of the sponsor’s insurance.

         In the comprehensive model, the assets and liabilities of the project are the assets and liabilities of the fiscal sponsor.
         The fiscal sponsor takes on the project, and all of its risks, because it advances the sponsor’s own charitable mission.
         Typically, in light of all of the administrative burdens and costs associated with the project and to ensure its own
         organizational health, the fiscal sponsor charges an intra-organizational administrative fee to the restricted fund
         dedicated to the project’s charitable purposes.

         A fiscal sponsor providing comprehensive sponsorship can serve as an effective and efficient vehicle for incubating a
         new charitable project, testing an innovative idea, implementing a program with a fixed time frame, and hosting a
         collaborative effort among charities or funders.

         Pre-Approved Grant Relationship
         In the pre-approved grant relationship model, the party entering into the fiscal sponsorship agreement with the fiscal
         sponsor is the sponsor’s grantee. Unlike with the comprehensive model, the project is owned by the grantee, not by
         the fiscal sponsor. Accordingly, the project’s assets and liabilities belong to the grantee, which is responsible for its
         own tax and filing obligations.

         Generally, the individuals associated with the grantee serve as agents of the grantee when working on the project. But
         when they are fundraising for the project, they are doing so as agents of the fiscal sponsor. The fundraising must be
         carried on by the fiscal sponsor because the grantee lacks the tax status to allow for deductible contributions or
         private foundation qualifying distributions.

         The key to this model is to ensure the fiscal sponsor is not serving as a mere conduit for donors and foundations to
         direct contributions and grants to the fiscal sponsor’s grantee. While the fiscal sponsor can accept contributions and
         grants with a purpose restriction on how they are used, the fiscal sponsor must have ultimate discretion and control on
         whether to use such contributions and grants itself or re-grant them out to another entity, not limited to the grantee
         whose representatives may have raised such funds in the capacity as agents of the fiscal sponsor.
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https://nonprofitquarterly.org/fiscal-sponsorship-a-balanced-overview/                                                                                     2/4
1/30/25, 7:36 PM                                                         Fiscal Sponsorship: A Balanced Overview - Non Profit News | Nonprofit Quarterly
                 Case 1:25-cv-00289-ABJ Document 1-1 Filed 01/31/25 Page 20 of 171
         The intended grantee is vetted and pre-approved by the fiscal sponsor prior to any fundraising for the purposes of the
         project. So long as the grantee has not breached the fiscal sponsorship agreement, the fiscal sponsor will ordinarily
         grant the funds raised for the project to the grantee, less some agreed upon amount it retains as an administrative fee.
         While the fiscal sponsor has the variance power to direct such funds to another organization to advance the same
         charitable purposes, it has a business reason not to exercise such power except under egregious circumstances.

         A fiscal sponsor providing pre-approved grant relationship fiscal sponsorship can facilitate broader grantmaking to
         individual artists producing works to be introduced to the public for noncommercial purposes, nonprofits without an
         IRS determination of 501(c)(3) status, and discrete charitable programs of for-profit social enterprises. Unlike the fiscal
         sponsor, such grantees may not be qualified recipients of deductible charitable contributions.

         In addition, many, if not most, private foundations have internal rules prohibiting them from making grants to such
         grantees in part because complex tax laws require them to exercise certain due diligence procedures and threaten
         them with stiff penalties for a failure to properly comply. In contrast, a private foundation may more safely make a
         grant to a qualified fiscal sponsor so long as it does not require the sponsor to act as a mere conduit for its grants to
         flow to a non-exempt grantee.

         Fiscal Sponsorship Administration Fee
         A portion of the funds raised to advance a particular project’s purpose is typically retained by the fiscal sponsor as an
         administrative fee. But the fiscal sponsor must account for the significant administrative burdens and costs and the
         risks associated with acting as a fiscal sponsor to a project. For comprehensive fiscal sponsors, such burdens generally
         include the management and/or administration of charitable solicitations, donations, grants, human resources
         (including payroll and benefits), volunteers, financial reporting, audits, government filing requirements, and appropriate
         risk management tools (e.g., insurance, legal counsel).

         In many cases, particularly with smaller projects, the costs associated with fiscally sponsoring a project are higher than
         the administrative fee. This may be acceptable so long as the fiscal sponsor believes that the project’s value in
         advancing the sponsor’s mission is worth such net expense. But regardless of whether the administrative fee covers the
         additional costs, the fiscal sponsor must provide proper management and oversight over the project.


         Where Things Go Wrong
         Some nonprofits offer fiscal sponsorship as a means for generating additional revenue without adequately managing or
         overseeing their projects. In a comprehensive fiscal sponsorship, the fiscal sponsor should have the appropriate
         infrastructure and resources one would reasonably expect of the legal operator of the project. Consistent with such
         expectation, the fiscal sponsor’s delegation of duties to the project leaders should follow only after sufficient due
         diligence of such individuals and their planned activities. Additionally, the fiscal sponsor should ensure it has
         appropriate policies to guide the project leaders’ actions, maintain oversight of the operations, and protect the
         charitable assets.

         Where a fiscal sponsor neglects its responsibilities, a project can be operated in a manner inconsistent with applicable
         laws and/or beyond the sponsor’s capacity. This scenario can easily come back to haunt a fiscal sponsor and its leaders
         if the project’s activities (1) result in an unexpected liability, like one stemming from a lawsuit, penalty, or fine; (2)
         trigger additional registration, licensing, or reporting requirements; (3) fall outside of the sponsor’s stated purpose in
         its governing documents; or (4) attract significant negative publicity.

         Oversight of a project’s activities by regulators and, indirectly, by donors, also becomes more challenging if the
         sponsor consolidates all of its projects in its information returns and other reports. Accordingly, while the onus is on
         the fiscal sponsor to properly manage its comprehensively sponsored projects, the additional layer of protection
         against misuse of charitable assets can be compromised if the sponsor does not keep proper records and the project
         becomes “hidden” among all of its other projects.

         A fiscal sponsor without sufficient capacity may also jeopardize the assets raised for each of its programs by misusing
         or misdirecting those assets to pay for its general administrative costs or other inappropriate expenses. NPQ has
         previously covered such scenarios.


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                 Case 1:25-cv-00289-ABJ Document 1-1 Filed 01/31/25 Page 21 of 171
         Accordingly, a project’s founders seeking fiscal sponsorship should be as selective in choosing an appropriate fiscal
         sponsor as a fiscal sponsor is in choosing a project. But it would be a mistake to use a fiscal sponsor’s administrative
         fee as the primary selection criteria. More important are the fiscal sponsor’s financial health, key personnel, and
         understanding of its legal responsibilities as a fiscal sponsor. The National Network of Fiscal Sponsors’ guidelines for
         both comprehensive and pre-approved grant relationship fiscal sponsorship are outstanding resources to help assess
         whether a fiscal sponsor’s practices and agreements reflect such proper understanding.


         Conclusion
         From a legal perspective, a comprehensively sponsored (Model A) project of a fiscal sponsor is generally no different
         from an internal program of any nonprofit with the exception of the rights the parties may have to transfer the
         program to another qualified successor nonprofit. And a pre-approved grantee of a fiscal sponsor housing the
         sponsored (Model C) project is generally no different from a grantee of any nonprofit that elects to grant funds to an
         individual or nonexempt entity, which is a permissible form of grantmaking for any charity so long as it is done with
         appropriate restrictions on use.

         Fiscal sponsorship, when appropriately structured and implemented, is a valuable alternative to formation of a
         nonprofit organization, particularly where the sustainability of a separate entity is highly questionable, the charitable
         endeavor has a relatively short life span, or the project founders lack the capacity to properly administer a compliant
         nonprofit, tax-exempt organization. While there will always be stories of abuses, as is the case in every field, the
         problem lies in the implementation and not the lawful practice of fiscal sponsorship done right. Fiscal sponsors must be
         diligent in helping to educate the field and the broader community to preserve and best utilize this important and
         often misunderstood form of collaboration.




            About the author


                                     Gene Takagi
                                     Gene Takagi is a Principal at NEO Law Group, contributing publisher of the Nonprofit La…




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https://nonprofitquarterly.org/fiscal-sponsorship-a-balanced-overview/                                                                                     4/4
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 22 of 171




                         EXHIBIT 2




                                 22
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 23 of 171




                                 23
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 24 of 171




                         EXHIBIT 3




                                 24
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 25 of 171




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Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 26 of 171




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        Case 1:25-cv-00289-ABJ   Document 1-1       Filed 01/31/25      Page 27 of 171



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 Case 1:25-cv-00289-ABJ     Document 1-1     Filed 01/31/25   Page 29 of 171




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Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 30 of 171




                         EXHIBIT 5




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Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 31 of 171




                                 31
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 32 of 171




                                 32
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 33 of 171




                         EXHIBIT 6




                                 33
9/5/24, 12:21 PM              Case 1:25-cv-00289-ABJ   Document   1-1 | A Peace
                                                       WESPAC Foundation  Filed&01/31/25         Page 34 of 171
                                                                                Justice Action Network



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                                                                                                                             U




                       WESPAC
                       We have been a leading force for progressive social change in Westchester
                       County, New York, since 1974. We have been educating, agitating and
                       organizing for a more just and peaceful world, an end to militarism and racism
                       and a more fair economy that works for all.




             Welcome WESPAC




https://wespac.org                                               34                                                              1/8
9/5/24, 12:21 PM                 Case 1:25-cv-00289-ABJ   Document   1-1 | A Peace
                                                          WESPAC Foundation  Filed&01/31/25         Page 35 of 171
                                                                                   Justice Action Network

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 Upcoming Events
     SEP     4:30 pm - 6:30 pm

    11
             Cooking Up Community with Chef Green

     SEP     7:00 pm - 8:30 pm

    11
             WESPAC Liberation Book Club

     SEP     1:30 pm - 4:30 pm

    15
             We Refuse to Remain Enemies: Meet Israelis and Palestinians Who Are Still Working Together Symposium

     SEP     6:00 pm

    17
             The Devil We Know Screening at Greenburgh Public Library


 View Calendar




           The Latest
               Membership Appeal 2024

https://wespac.org                                                  35                                               2/8
9/5/24, 12:21 PM                       Case 1:25-cv-00289-ABJ             Document   1-1 | A Peace
                                                                          WESPAC Foundation  Filed&01/31/25         Page 36 of 171
                                                                                                   Justice Action Network

               Sep 4, 2024

               Hello WESPACers! As we enter September, it is time for our annual Membership Appeal. You can find a digital copy of the appeal letter here. In
               our 50th year, we particularly reflect in gratitude on the support of this wonderful community. Thank you in advance for your...
               read more




               WESPAC August 2024 Solidarity Newsletter
               Aug 9, 2024

               If you missed it in your inbox, here is this month's newsletter: WESPAC August 2024 Solidarity Newsletter!
               read more




               Support University Students and the Struggle for Food Sovereignty!
               Jun 4, 2024

               WESPAC has had the pleasure of working with Sarah Lawrence College students over the last semester period. A couple of these students have
               created a community fridge in Yonkers for the Sarah Lawrence community. Learn more about it at the below links: Website:...
               read more




               TOMORROW: Volunteers needed in Mount Vernon Garden
               Aug 16, 2024


               read more




https://wespac.org                                                                   36                                                                         3/8
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                                                                          WESPAC Foundation  Filed&01/31/25         Page 37 of 171
                                                                                                   Justice Action Network


               US Corporations Pump Aquifers Dry as Police Kill Water Defenders
               Jul 30, 2024

               Excellent (and lengthy) article about the devastating environmental and human effect of NAFTA and neoliberal policies on a community in
               Mexico. Persisting even under AMLO and possibly Sheinbaum… ...
               read more




               Public Banking Act Support
               Jun 4, 2024

               This legislative session, New York has a historic opportunity to bring public banking to our state! After years of campaigning to pass the New
               York Public Banking Act we now have a chance to bring public banking to Rochester which would be the first public bank in the...
               read more




               H2OO New Youth Cohort Application
               Aug 16, 2024

               Heirs To Our Ocean (H2OO) is recruiting youth aged 16–25 for the 5th Cohort of the U.S. Youth Action Council for the UN Ocean Decade (U.S.
               YAC UNOD). H2OO is an official UN Ocean Decade partner, and this Council is endorsed as a Decade Action in collaboration with the...
               read more




               WESPAC June 2024 Solidarity Newsletter
               Jun 12, 2024

               If you missed it over email, check out the June 2024 Solidarity Newsletter!
               read more
https://wespac.org                                                                    37                                                                        4/8
9/5/24, 12:21 PM                            Case 1:25-cv-00289-ABJ      Document   1-1 | A Peace
                                                                        WESPAC Foundation  Filed&01/31/25         Page 38 of 171
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               WESPAC Annual Awards! Sunday, June 2nd at 2pm in Rye, NY!
               Apr 16, 2024

               read more




           « Older Entries

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                              1 week ago


                     This Wednesday, WESPAC is hosting Osama Iliwat and Rotem Levin for a conversation about Palestinian and Israeli peace
                     activism. Please RSVP at wespacfoundation@gmail.com, and read more above!

                       Photo

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                     This Wednesday, WESPAC is hosting Osama Iliwat and Rotem Levin for a conversation about Palestinian and Israeli peace
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                                                                                                     Justice Action Network

                     The organizers are planning a nonviolent civil disobedience component. If you would like to participate in the civil disobedience,
                     please let me know and I will connect you:

                       Photo

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                             Explore WESPAC
                             1 month ago


                     Good morning, all,

                     I have checked with Lana and she is happy for me to share this write up about her and her family. Her father is from the ancient
                     Christian Palestinian Shawa family in Gaza. They have lost 92 members of their extended family in Israel's bombing of Gaza.
                     Lana was introduced to WESPAC after October 7th last year:

                     www.greenwichtime.com/news/article/ct-greenwich-palestinian-american-1 ... See More

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                                                                   WESPAC Foundation  Filed&01/31/25         Page 40 of 171
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                      WESPAC has been working for #peace & #socialjustice for 48 years. We work for a #progressive agenda for the planet & its
                      peoples. wespacfoundation@gmail.com


                                 WESPAC Foundation Retweeted

                     Frack Action @frackaction · 22 Aug
                     “This new, experimental form of gas drilling is highly untested and poses a lot of the same threats to our air, water and
                     communities as the conventional, high-volume hydraulic #fracking," Renee Vogelsang, NY Director at Frack Action
                     @GovKathyHochul

                             7        9    Twitter




                                 WESPAC Foundation Retweeted

                     UAW @uaw · 22 Aug

                     If we want the war in Gaza to end, we can’t put our heads in the sand or ignore the voices of the Palestinian Americans
                     in the Democratic Party. If we want peace, if we want real democracy, and if we want to win this election, the
                     Democratic Party must allow a Palestinian…

                             8212         30659      Twitter




                                 WESPAC Foundation Retweeted

                     IfNotNow             @ifnotnoworg · 22 Aug

                     “We have enough tears to cry for two peoples. Freedom for Palestinians does not put Jews in danger.” -@Junesfinalrose

                     #LetPalestineSpeak #NotAnotherBomb

                             575          1668    Twitter




                     WESPAC Foundation @wespac_ny · 22 Aug
                     The organizers are planning a nonviolent civil disobedience component. If you would like to participate in the civil
                     disobedience, please let me know and I will connect you:

                             1        1    Twitter




                                 WESPAC Foundation Retweeted

                     The Saviour @stairwayto3dom · 20 Aug
https://wespac.org                                                              40                                                               7/8
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                            THIS VIDEO IS THE REASON WHY THEY REMOVED BASSEM YOUSSEF’S ACCOUNT

                                     20021       51313    Twitter




                                        WESPAC Foundation Retweeted

                             Dr Mohammed Al Najjar             @m7madnajar · 20 Aug

                            I haven't bathed with shampoo or soap for 4 months because they've blocked them from entering Gaza. We are slowly
                            dying from infections.Death here doesn't come just from the bombs.This case one of thousand have severe skin
                            disease without available treatment
                            World must know

                                     618       778   Twitter




                                        WESPAC Foundation Retweeted

                             Librarians and Archivists with Palestine @librarians2pal · 20 Aug

                            Calling all citizen archivists! Check out these crowdsourced archival initiatives working to preserve Palestinian heritage,
                            memory, and narratives, compiled by Librarians and Archivists with Palestine. (1/3)

                                     269       403   Twitter



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                                                      Donate
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Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 42 of 171




                         EXHIBIT 7




                                 42
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 43 of 171




                                 43
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 44 of 171




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Case 1:25-cv-00289-ABJ     Document 1-1         Filed 01/31/25   Page 45 of 171

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Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 46 of 171




                         EXHIBIT 8




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       Case 1:25-cv-00289-ABJ       Document 1-1      Filed 01/31/25    Page 47 of 171




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Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 50 of 171




                         EXHIBIT 9




                                 50
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 51 of 171




                                 51
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 52 of 171




                     EXHIBIT 10




                                 52
1/30/25, 7:54 PM   Case 1:25-cv-00289-ABJ                   Document
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                                                                       of Directors     01/31/25
                                                                                    — Honor The Earth        Page 53 of 171
               Amy Sazue              Eve Reyes-Aguirre,…       Lenna Zahran Nasr              Betty Lyons           Sharon Lungo, Trea…




                                                                   Palestinian


                    Lenna Zahran Nasr is a Palestinian/Lebanese organizer from Jerusalem & Bethlehem born and raised in
                    exile on occupied Tickanwa-tic land (Central Texas). She believes that Indigenous sovereignty and
                    Global Indigenous Solidarity is a key component of principled anti-imperialism and the creation of a
                    better world.

                    She brings experience in building out student and movement institutions focused on advocacy and
                    agency from the grassroots. Her specialty and passion is political education pedagogy and movement
                    culture.

                    Since 2017, she has played a critical role supporting the student movement at UT Austin and Nationally
                    across the so-called United States. She regularly leads political education workshops for Arab
                    community on Indigenous struggle on Turtle Island, Puerto Rican struggle, Black struggle, and the role
                    of youth and students in the Palestinian struggle, and demilitarism. She is a proficient researcher and has
                    been recently featured in articles written in both English and Arabic.

                    In Austin, Lenna brings together individuals and activists from a plurality of backgrounds to build a
                    strong movement for Palestine. While she is an organizer with deep roots in her local community, she
                    also brings experience from International struggles and relationships.

                    In 2018, she co-organized and participated in the historic Indigenous Delegation to Palestine, which
                    brought Palestinian youth living in exile on Turtle Island and young Indigenous land-defenders and
                    water-protectors (Kumeyaay, Yaqui, Diné, Kānaka Maoli) together to Palestine.

                    In 2019, she was honored to be invited on The Red Nation’s delegation to Dinétah and Pueblo
                    Territories, which explored themes of border towns, extraction, food deserts, mancamps, MMIWG2+,
                    kinship, culture, and sovereignty.

                    In 2021, she traveled to Cuba on a delegation with the Interfaith Community Organization with a focus
                    on grassroots community coalitions whose focus ranged from cultural work and advocacy to health
                    infrastructure.

                    Lenna has a robust background in legal and compliance. She is detail oriented and driven by a passion of
                    social justice for all people, rematriation / Land Back and tackling Environmental Racism at its roots.
                    She believes that, when the people organize they can win.

                    She currently serves as a lead organizer with Palestinian Youth Movement.

                                             Honor the Earth PO Box 1531, Lame Deer, MT 59043




https://www.honorearth.org/board                                         53                                                                1/1
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 54 of 171




                     EXHIBIT 11




                                 54
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 55 of 171




                                 55
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 56 of 171




                                 56
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 57 of 171




                     EXHIBIT 12




                                 57
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 58 of 171




                                 58
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 59 of 171




                     EXHIBIT 13




                                 59
1/30/25, 6:03 PM      Case 1:25-cv-00289-ABJ    Document 1-1 JVPFiled 01/31/25
                                                                DC Metro            Page 60 of 171




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1/30/25, 6:03 PM      Case 1:25-cv-00289-ABJ     Document 1-1 JVPFiled 01/31/25
                                                                 DC Metro                   Page 61 of 171

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Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 62 of 171




                     EXHIBIT 14




                                 62
1/30/25, 6:03 PM      Case 1:25-cv-00289-ABJ    Document 1-1 JVPFiled 01/31/25
                                                                DC Metro            Page 63 of 171




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https://jvpdc.org                                        63                                          1/2
1/30/25, 6:03 PM      Case 1:25-cv-00289-ABJ     Document 1-1 JVPFiled 01/31/25
                                                                 DC Metro                   Page 64 of 171

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https://jvpdc.org                                            64                                                                2/2
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 65 of 171




                     EXHIBIT 15




                                 65
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 66 of 171




                                 66
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 67 of 171




                                 67
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 68 of 171




                     EXHIBIT 16




                                 68
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 69 of 171




                                 69
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 70 of 171




                     EXHIBIT 17




                                 70
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 71 of 171




                                 71
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 72 of 171




                     EXHIBIT 18




                                 72
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 73 of 171




                                 73
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 74 of 171




                                 74
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 75 of 171




                     EXHIBIT 19




                                 75
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 76 of 171




                                 76
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 77 of 171




                     EXHIBIT 20




                                 77
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 78 of 171




                                 78
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 79 of 171




                     EXHIBIT 21




                                 79
    Case 1:25-cv-00289-ABJ            Document 1-1          Filed 01/31/25       Page 80 of 171


                           United States Department of the Interior
                                       NATIONAL PARK SERVICE
                                       National Capital Region
                                       1100 Ohio Drive, S.W.
IN REPLY REFER TO:
                                       Washington, D.C. 20242

                                  PUBLIC GATHERING PERMIT

                     Permit: NCA-NAMA-EVNT24-1278             Date: July 23, 2024


In accordance with Park Regulations as contained in C.F.R., Title 36, Chapter 1, Section 7.96,
permission is granted to conduct a public gathering to the following:


Person(s) and/or Organization(s): ANSWER Coalition


Dates & Time(s): 7/24/2024 5:00 AM                            To: 7/24/2024 4:00 PM
   Location(s):
  Columbus Plaza; John Marshall Park; Pennsylvania Avenue North Sidewalk, 3rd - 5th Street
  Pennsylvania Avenue South Sidewalk, 3rd - 5th Street
Purpose: Stop the genocide in Gaza


Anticipated Number or Participants: 5000
Person(s) in Charge: Brian Becker
Address(es): 617 Florida Avenue NW , Washington, Washington, DC, 20001
Phone Number: (202) 904-7992 Office                   Mobile Number:


On-Site Contact: Layan Fuleihan                               Mobile Number: 646-244-3897
On-Site Contact: Mara Verheyden-Hilliard                      Mobile Number: 202-270-3533
On-Site Contact: Carl Messineo                                Mobile Number: 202-277-4625
*Organizer refused to provide specific locations for onsite contacts.


This permit is granted subject to the following conditions:
1. Permittee and all participants authorized therein must comply with all of the conditions of this
   permit and with all reasonable directions of the United States Park Police.
2. All sidewalks, walkways, and roadways must remain unobstructed to allow for the reasonable
   use of these areas by pedestrians, vehicles and other park visitors.


PERMITTEE IS RESPONSIBLE FOR READING AND ADHERING TO ATTACHED
ADDITIONAL CONDITIONS.




                                                  80
    Case 1:25-cv-00289-ABJ                Document 1-1           Filed 01/31/25         Page 81 of 171

PERMIT: #24-1278
ISSUED TO: ANSWER COALITION
LOCATION: JOHN MARSHALL PARK, PENNSYLVANIA AVENUE NHS, NORTH AND SOUTH
SIDEWALKS, AND COLUMBUS PLAZA
DATE: JULY 24, 2024 (5:00 AM –4:00 PM)

Activity Overview:
The ANSWER Coalition will conduct a demonstration to stop the genocide in Gaza. The demonstration will
occur from 10:00 am – 1:00 pm feature speeches and conclude with a march to Columbus Plaza. The primary
location for the demonstration is on the closed portion of Pennsylvania Avenue between 3rd-5th Streets. There
will be portable restrooms, hydration station, button sales area and a first aid stand setup in John Marshal Park.
The Pennsylvania Avenue sidewalks between 3rd-5th Street will be used as overflow area for participants. The
maximum estimated number of participants is 5000.

Timeline Overview
Pennsylvania Avenue -3rd -4th Street (MPD Jurisdiction)
5:00 am                        Setup of Stage and delay towers
6:00 am - 12:00 pm             Staggered bus drops on C Street between 4th-6th
10:00 am – 11:00 am            Pre-rally music and speeches
11:00 am – 1:00 pm             Demonstration
 1:00 pm 1:15 pm               March to Columbus Plaza

John Marshal Park and Pennsylvania Avenue between 3rd -5th Streets
           5:00 am         Delivery of portable restrooms and setup of tents
6:00 am - 11:00 am         Buses arrive.
6:00 am – 2:00 pm          Portable Restrooms, First Aid and Hydration Stations open
1:15 pm – 3:00 pm          Clean up and removal of equipment
 4:00 pm – 7:00 pm         Buses pickup on C Street

Columbus Plaza
2:00 pm – 2:15 pm                  March arrives in Columbus Plaza
2:15 pm – 3:45 pm                  Rally: chant, hold signs.
3:45 pm – 4:00 pm                  Participants begin to disperse.

John Marshall Park -authorized equipment.
3 - 10x10ft Canopy Tents

VOLUNTEER TENT:
Table x3
Chairs x10

WATER TENT:
Table x3
Chairs x10
Water

FIRST AID TENT:
Table x3
Chairs x10

Pennsylvania Avenue sidewalks (north and south)
Table
Buttons



                                                        2



                                                       81
    Case 1:25-cv-00289-ABJ                Document 1-1          Filed 01/31/25         Page 82 of 171

PERMIT: #24-1278
ISSUED TO: ANSWER COALITION
LOCATION: JOHN MARSHALL PARK, PENNSYLVANIA AVENUE NHS, NORTH AND SOUTH
SIDEWALKS, AND COLUMBUS PLAZA
DATE: JULY 24, 2024 (5:00 AM –4:00 PM)

Columbus Plaza
Handheld signs
Portable sound system

March route
Exit Pennsylvania Avenue and 3rd Street
East on Constitution Avenue cross 3rd Street
Northeast onto Louisiana Avenue
East on Massachusetts Avenue
Enter Columbus Plaza


General Conditions

  A. This permit authorizes the use of the following park areas located within National Mall and Memorial
     Parks from 5:00 am on July 24 and concluding at 4:00 pm on July 24, 2024:
           a. John Marshall Park
           b. Pennsylvania Avenue NHS north and south sidewalks between 3rd – 5th Streets
           c. Columbia Plaza (2:00 pm -4:00 pm)

  B. All structures must adhere to attached site plan; no additional structure (s) may be erected except in
     accordance with the site plan, permit and in coordination with permits office. Permittee indicated they
     are no longer setting up symbolic tents as part of the demonstration. Structures not listed in the permit
     will be removed and all permitted structures must be erected by the start of the demonstration rally start
     time. See equipment list above. No site plan was provided by organizer as required by event
     guidelines.

  C. *NOTE: Due to the possibility of security measures, Presidential movements, and Head of State
     visits, permitted activity locations may be, temporarily moved and/or suspended.

  D. The permittee is responsible for adhering to NCA Fire and Life Safety Temporary Event Policy and
     ensuring that all generators, tents, portable heaters and other applicable equipment adhere to
     requirements outlined with the document and this permit. The permittee assumes full responsibility for
     event elements safety and must ensure their contractors fully understand requirements outlined in the
     permit. In addition, the site must be ready for inspection by AHJ and/or designated representative prior
     to the event and upon request.

  E. The Permittee is responsible for obtaining the necessary permissions and/or additional permits from the
     Metropolitan Police Department (202) 671-6522, United States Capitol Police (202) 224-8891or from
     other federal, state or local agencies or departments for the use of public lands other than those under the
     jurisdiction of the National Park Service.

  F. Due to the exceptional time constraints associated with this permit and the complexity of multiple
     vendors bringing materials and equipment to park land, special attention is assigned to the
     requirement that the permittee must at all times provide an on-site coordinator at each permitted
     location to be accessible to National Park Service and United States Park Police personnel during
     the setup activities and during the load in/out of the event.

                                                       3



                                                      82
       Case 1:25-cv-00289-ABJ              Document 1-1           Filed 01/31/25         Page 83 of 171

PERMIT: #24-1278
ISSUED TO: ANSWER COALITION
LOCATION: JOHN MARSHALL PARK, PENNSYLVANIA AVENUE NHS, NORTH AND SOUTH
SIDEWALKS, AND COLUMBUS PLAZA
DATE: JULY 24, 2024 (5:00 AM –4:00 PM)

  G. If Permittee or its agents/representatives/contractors/subcontractors cause any injury or
     damage to park system resources, they may be liable for costs and damages in accordance
     with the System Unit Resource Protection Act, 54 USC §§ 100721-100725.

  H. Permittee will be responsible for any injury to, loss of, or damage to federally owned or
     controlled lands, waters, or resources (natural or cultural resources or facilities) resulting
     from Permittee’s activities under this permit, 18 USC § 1361.

  I.    All request, correspondence and meetings with the National Park Service pertaining to this permit shall
        be scheduled by the permittee in writing only. All contractors, subcontractors or consultants must
        channel their request through the recognized representatives of the permittee who in turn will contact the
        National Park Service representative.

  J. The Permittee is responsible for providing all necessary equipment/objects to conduct this activity.
     All equipment must be removed from the park immediately following the conclusion of the event.
     Items left in the park will be considered abandoned property and will be removed by the National
     Park Service.

  K. Throughout the course of the permit, the Permittee will require employees/volunteers, and contractors,
     to exercise special care and attention to protect the resources of the permitted area and its environs. In
     addition, the Permittee must supervise their contractors, volunteers, and employees during setup and
     teardown to assure that there is no damage to park resources. The onsite contacts for ANSWER are:

                               1.   John Marshal Park:
                               2.   Columbus Plaza:
                               3.   Pennsylvania Avenue North Sidewalk b/w 3rd-5th Strs.:
                               4.   Pennsylvania Avenue South Sidewalk b/w 3rd-5th Strs.:

The contacts must be present physically present at each of the location for the entire duration demonstration
permit times. (See above timelines)

  L. The permittee shall require all employees and/or contractors to exercise all normal and reasonable safety
     precautions and to protect park visitors and property. Suitable devices such as barricades, fences,
     lanterns, etc. necessary for employee and public safety, shall be provided and adequately maintained.
     Such devices require the concurrence of the NPS Coordinator or designated representative.

  M. Marshals: The ANSWER Coalition will provide at least 200 identifiable marshals to coordinate the
     various areas of the demonstration. All marshals involved with the organization will wear hi-res security
     vest and/or armbands. Pursuant to 36 CFR 7.96 (g)(5)(xii) organizers must undertake in good faith all
     reasonable action to provide sufficient marshals, to ensure good order and self-discipline in conducting
     such demonstration. Marshals should be aware of their responsibilities and location(s) where they
     will be stationed and have received from organizers adequate training and instructions. Marshals
     should be aware of the time and location of the assembly and any march routes, the location of any
     first aid stations, water, and toilets, be knowledgeable of the NPS permit conditions, be able to
     communicate with law enforcement. Marshals’ area expected to report any problems they observe to
     Law Enforcement and/or National Park Service Permit Monitors. While marshals do not act as
     police, they do help maintain order among participants, explain to non-participants that a particular
     area may be under permit, and be able to alert their supervisor and the United States Park Police in
     the event they observe a problem on Federal parkland.
                                                         4



                                                        83
   Case 1:25-cv-00289-ABJ                Document 1-1           Filed 01/31/25          Page 84 of 171

PERMIT: #24-1278
ISSUED TO: ANSWER COALITION
LOCATION: JOHN MARSHALL PARK, PENNSYLVANIA AVENUE NHS, NORTH AND SOUTH
SIDEWALKS, AND COLUMBUS PLAZA
DATE: JULY 24, 2024 (5:00 AM –4:00 PM)

 N. No interference with the pedestrian traffic and no blocking of entrances, sidewalks, or driveways
    is allowed. No impediment to or disruption of vehicular traffic is permitted. All areas are to
    remain open to the general public at all times.

 O. Medical Aid: Person in charge is responsible for providing first aid services onsite. Permittee is
    required to adhere to recommendations provided by DC Fire and EMS. Permittee can rely on 911 for
    transport of patience. At a minimum permittee must have one Basic Life Support Medical Aid station
    and mobile med teams in all permitted locations. Please see attached plan for permittee medical plan.
                            1. John Marshall Park
    Permittee per written first aid plan: Hydration Station(1) and First Aid Station (1) staffed by doctors,
    nurses and health care professionals from 10 am - ~1:00 pm.

 P. Commercial Advertising Signage: Consistent with long-standing NPS regulations and policy, and
     Public Law 108-108, Title I, §145, the erection, placement, or use of structures and signs bearing
     commercial advertising is prohibited for any special event. The recognition of special events
     sponsors, however, may be allowed if it has been specifically authorized by this permit.

                A permit may be issued that authorizes the recognition of sponsors of special events, if the
       NPS determines that the size and form of the recognition is consistent with the special nature and
       sanctity of the National Mall or any other requested park area, and if the lettering or
       design identifying the sponsor is no larger than one- third the size of the lettering or design identifying
       the special event. Further, to the maximum extent practicable for such special events, public use of
       and, access to the National Mall and other parkland is not to be restricted.

                The Permittee shall submit a sign plan for NPS review and approval. Any request seeking
       NPS approval for sponsor recognition must be submitted to the NPS at least 14 days prior to the
       proposed event, and if approved by the NPS, will be authorized within the terms of the special event
       permit. Authorized sponsor recognition must be in keeping with NPS policy, regulations, and laws and
       be appropriate to the scale and theme of the special event. Further, the overall size, number, and design
       of any signs or banners shall be appropriate to the park setting and lettering or design identifying the
       special event. Signs and banners may not be affixed to existing trees or other NPS facilities or
       structures.
                Only signs and/or banners specifically identifying and/or announcing the event or
       portion of the event are permitted. Commercial sponsors may be recognized on these same
       banners by letters and/or logos not to exceed one-third the height and width of the primary
       lettering identifying the event.

 Q. Special attention is drawn to item #4, on the last page of this document, concerning solicitation
       and sales. No fee may be collected, donation solicited, or commercial activity conducted. No
       items may be sold or offered for sale except for books, newspapers, leaflets, pamphlets, buttons
       and bumper stickers which contain a message related to your demonstration or special event.
      Permittee will have onsite sales at John Marshall Park, Pennsylvania Avenue Sidewalks north
      and south between 3rd-4th Streets, the stand or structure may consist of one table per site,
      which may be no larger than 2 ½ ft by 8ft or 4ft by 4ft. The dimensions of the sales site may
      not exceed 6ft (w) by 15ft long by 6ft high. No other items maybe sold other than those listed.
               Sales table is located in the John Marshall Park and Pennsylvania Avenue Sidewalks
      between 3rd – 5th Streets, permittee has not provided a detailed site plan. Permittee has
      indicated the sales of buttons.

                                                       5



                                                      84
      Case 1:25-cv-00289-ABJ             Document 1-1          Filed 01/31/25          Page 85 of 171

PERMIT: #24-1278
ISSUED TO: ANSWER COALITION
LOCATION: JOHN MARSHALL PARK, PENNSYLVANIA AVENUE NHS, NORTH AND SOUTH
SIDEWALKS, AND COLUMBUS PLAZA
DATE: JULY 24, 2024 (5:00 AM –4:00 PM)

 R. All sound amplification equipment shall be limited so that it will not unreasonably disturb
    nonparticipating persons in, or in the vicinity of, the area. National Park Service has issued a
    Record of Determination in John Marshall Park during regular business hours, therefore no
    amplified sound is allowed in John Marshal Park as part of this activity.

 S.    Balloons of any kind, glass containers and alcoholic beverages are not permitted.

 T. The collection of entry/registration fee is prohibited on parkland.

 U. Permittee’s desiring the use of temporary structures, i.e. cable trusses, stages, audio and/or video
    towers and tents, whose dimensions are (500) square feet or more, shall provide Life Safety Code
    certification statements confirming the safety of all temporary structures. In the event that the
    manufacture’s certifications are not available, permittee will submit to the NPS stamped engineered
    drawings for NPS review and approval. Smaller structures cannot be attached or within 5ft of
    another to create a larger structure.

 V. All activities pursuant to this permit shall be in compliance with the requirements of Title VI of the Civil
    Rights Act of 1964 (78 Stat. 252; 42 U.S.C. 200d ed seg.); Title V, Section 504 of the Rehabilitation Act
    of 1973 (87 Stat. 394; 29 U.S.C 794); the Age Discrimination Act of 1975 (89 Stat. 728; 42 U.S.C. 6101
    et seg.); and with all other Federal laws and regulations prohibiting discrimination of grounds of race,
    color, national origin, handicap, religion, or sex in employment and in providing facilities and services
    to the public. Nothing advertising for employees shall be done which will prevent those covered by these
    laws from qualifying for employment.

 W. Portable Restrooms: If attendance is expected to exceed the capacity of nearby NPS public comfort
    facilities, or if none exist in or near the requested park area, the Permittee must provide portable,
    temporary toilets with sufficient capacity to accommodate anticipated attendance. The general
    guideline is a minimum of (1) portable toilet per (300) people, of which at least twenty percent (%20)
    must be handicapped accessible. The restrooms should be grouped in banks of five with a six-foot
    clearance between each bank.

                             1. John Marshall Park– 10 Portable Restrooms –The portable restrooms must
                                be hand carted and retrieved for the area.
                             2. Portable restroom trucks may not drive on sidewalk and should furnish a hose
                                long enough to clean portable restrooms
                             3. Portable restrooms must be delivered and removed the same day of the
                                demonstration.

 X. Tents: Permittee’s authorized use of temporary structures, i.e. cable trusses, stages, audio and/or video
    towers and tents, whose dimensions are (900) square feet or more, shall provide Life Safety Code
    certification statements confirming the safety of all temporary structures. In the event that the
    manufacture’s certifications are not available, permittee will submit to the NPS stamped
    engineered drawings for NPS review and approval. Smaller structures cannot be attached or
    within 5ft of another to create a larger structure.

            a. A minimum 10ft. clearance must be maintained from tents to any flammable or
               combustible materials or vegetation.



                                                      6



                                                     85
    Case 1:25-cv-00289-ABJ             Document 1-1          Filed 01/31/25       Page 86 of 171

PERMIT: #24-1278
ISSUED TO: ANSWER COALITION
LOCATION: JOHN MARSHALL PARK, PENNSYLVANIA AVENUE NHS, NORTH AND SOUTH
SIDEWALKS, AND COLUMBUS PLAZA
DATE: JULY 24, 2024 (5:00 AM –4:00 PM)

           b. Aisle Width: The width of aisles serving seating at tables shall be not less than 44 in.
              where serving occupant load exceeding 50 people, and 36 in. where serving an
              occupant load of 49 people or fewer. In addition all tent exits must have a minimum
              head clearance height of 7ft.

           c. Exit and Occupant Loads for Enclosed Tents: Tents that have sides attached and those
               with rolled up sides which are capable of being enclosed shall meet the following occupancy
               load and exit requirements.
   Y. Occupant Load           Z. Floor Area         AA. Approx. Tent Sizes           BB. Min. Exits
       Number
   CC. <49 people             DD. <343 Sq.          EE. 10’x10’,       10’x30’,      FF. 1
                                   Ft.                   15’x15’
   GG. 50-499 people          HH. 350-3,493         II. 15’x 30’, 40’ x 40’, 40’     JJ. 2
                                   Sq. Ft.               x80’
   KK. 500-999 people         LL. 3,500-6,993       MM. 40’ x 100’, 60’ x 100’       NN. 3
                                   Sq. Ft
   OO. >1000 people           PP. >7,000 Sq.        QQ. 80’ x 100’, 60’x 160’        RR. 4 or more
                                   Ft.


 SS. Tents must be supported by water barrels or cement blocks. STAKING IS NOT PERMITTED. In
     order to prevent damage to brick, stonework, or other surfaces, protective material such as
     plywood, carpet squares or rubber pads must be in place under all equipment, including
     speaker stands, lighting stands, generators, tables and tents.

 TT. GENERATORS: No generators have been requested at the permitted areas, therefore generators are
     prohibitied.
 UU. Contact Park Ranger Marisa Richardson, National Park Service, at (202) 245-4715, with
    questions or to discuss additional information regarding logistical setup.

 VV. Contact Lt. Timothy Van Dyke , United States Park Police, 202-426-6710 , with questions
    concerning police procedures or logistics.

 WW. NPS and USPP onsite representatives

           a.   Marisa Richardson 202-528-9610
           b.   Martin 7RUUHV 2-603-9499
           c.   Tim Van Dyke 202- 202-768-1912

 XX. In case of an emergency, please contact USPP dispatch at (202) 610-7500.

A complete and legible copy of this permit must be retained on-site by the Permittee at all times
while operating under the authority granted.




                                                    7



                                                   86
   Case 1:25-cv-00289-ABJ               Document 1-1          Filed 01/31/25         Page 87 of 171

PERMIT: #24-1278
ISSUED TO: ANSWER COALITION
LOCATION: JOHN MARSHALL PARK, PENNSYLVANIA AVENUE NHS, NORTH AND SOUTH
SIDEWALKS, AND COLUMBUS PLAZA
DATE: JULY 24, 2024 (5:00 AM –4:00 PM)

General Resource Protection:

 YY. Pursuant to 36 CFR 7.96(g)(xii), the alteration, damage, or removal of park resources or facilities
    is prohibited. No holes may be dug and no item, including signs or banners, may be attached to park
    trees, plantings, benches, fences, light standards, or any other park landscape element.

 ZZ. It is prohibited to climb, remove, or in any way injure any statue seat, wall, fountain, light poles,
     elevator towers, or other erection or architectural feature, or any tree, shrub, or landscaping
     feature within the park. Permittee is responsible for informing event participants and providing
     marshals to ensure compliance with this permit condition.

 AAA. Public Access: Sidewalks and entrances seven feet wide or larger, a six foot minimum clearance
   must be maintained at all times to allow for two wheelchairs to pass each other . And for sidewalks
   and entrances of (5-6) feet wide, a four-foot minimum width must be maintained at all times for wheel
   chair accessibility.

 BBB. In order to prevent damage to brick, stonework, or other surfaces, protective material such
   as plywood or rubber pads must be in place under all equipment, including speaker stands,
   lighting stands, generators, tables and tents.

 CCC. Helium inflated items and drones are not permitted on Parkland.

 DDD. Trash/debris pickup: Permittee indicated to be responsible for all trash and debris from the
   permitted areas immediately after the conclusion of the demonstration. Trash receptacles for this
   effort shall be provided and removed from the site accordingly by the permit holder. Trash
   receptacles must not overflow with trash or debris. Use of clear trash bags is required for all trash
   receptacles used for the event.

 EEE. Fire Hydrants: A minimum 36 in. of clear space shall be maintained to permit access to and operation
    of fire protection equipment, fire department inlet connections, or fire protection system control valves.
    Vehicles must maintain a 15 ft. clearance of all fire hydrants.

 FFF. Outdoor Equipment. (A) Wet Locations. All switches, circuit breakers, receptacles, control
    equipment, and metering devices located in wet locations shall be weatherproof.
      (NFPA70:551.78 (2017)

 GGG. OPEN-FLAME DEVICES. Open-flame decorative devices, candles, oil lamps, decorative
   torches and gas lights are NOT authorized in any tent or temporary structures.

 HHH. COMBUSTIBLE OR FLAMMABLE LIQUIDS shall NOT be stored on NPS property.
   NCA-AHJ

 III. Weather (adverse) Policy during an Event Program: When there is a threat to public health or
      safety, the Superintendent and/or designee, may close the National Mall or an event being hold there
      for such duration as determined necessary to ensure the safety and well being of the public. Such
      situations have occasionally occurred in the past where park areas have been closed due to severe
      weather warning of heavy snow, thunderstorms with lighting, high winds, cold and intense heat.
      Where an area is ordered closed due to a weather-related public safety threat, pursuant to 36 CFR

                                                     8



                                                    87
   Case 1:25-cv-00289-ABJ             Document 1-1          Filed 01/31/25        Page 88 of 171

PERMIT: #24-1278
ISSUED TO: ANSWER COALITION
LOCATION: JOHN MARSHALL PARK, PENNSYLVANIA AVENUE NHS, NORTH AND SOUTH
SIDEWALKS, AND COLUMBUS PLAZA
DATE: JULY 24, 2024 (5:00 AM –4:00 PM)

    2.32 people must comply with official directions to leave the closed area and relocate to safer
    sheltered locations. Weather will be monitored throughout the duration of the event. Permittee is
    responsible for ensuring that adequate resources are available to deal with extreme weather
    conditions. For example extreme heat, cold, snow etc. Permittee is responsible for removing snow
    from flooring, however the Park Superintendent must approve type equipment used or any deicer.




                                                   9



                                                  88
    Case 1:25-cv-00289-ABJ              Document 1-1          Filed 01/31/25         Page 89 of 171

PERMIT: #24-1278
ISSUED TO: ANSWER COALITION
LOCATION: JOHN MARSHALL PARK, PENNSYLVANIA AVENUE NHS, NORTH AND SOUTH
SIDEWALKS, AND COLUMBUS PLAZA
DATE: JULY 24, 2024 (5:00 AM –4:00 PM)

3. All laws, rules and regulations applicable to the area covered by this permit remain in effect.

4. No fee may be collected, donation solicited, or commercial activity conducted. No items may be sold or
   offered for sale except for books, newspapers, leaflets, pamphlets, buttons and bumper stickers which
   contain a message related to your demonstration or special event. No other merchandise may be sold or
   offered for sale. A stand or structure used for the sale of permitted items may not exceed one table
   per site, which may be no larger than 2 1/2 feet by 8 feet or 4 feet by 4 feet. The dimensions of the
   sales site may not exceed 6 feet wide by 15 feet long by 6 feet high.

5. The area should be left in substantially the same condition as it was prior to the activities authorized
   herein, and all litter shall be placed in the trash containers provided.

6. This permit is applicable only for the use of the area designated above, and during the times designated
   above, or in any area as may hereafter be designated by the United States Park Police.

7. All sound amplification equipment shall be limited so that it will not unreasonably disturb
   nonparticipating persons in, or in the vicinity of, the area.

8. The National Park Service reserves the right to immediately revoke this permit at any time should it
   reasonably appear that the public gathering presents a clear and present danger to the public safety, good
   order or health, or if any conditions of this permit are violated.


                                                  Lisa Mendelson
                                                  Regional Director
                                                  National Capital Region




                                                  By:
                                                  Marisa E. Richardson
                                                  Chief, Division of Permits Management
                                                  National Mall and Memorial Parks




                                                     10



                                                     89
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 90 of 171




                                 90
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 91 of 171




                                 91
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 92 of 171




                     EXHIBIT 22




                                 92
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 93 of 171




                                 93
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 94 of 171




                     EXHIBIT 23




                                 94
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 95 of 171




                                 95
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 96 of 171




                     EXHIBIT 24




                                 96
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 97 of 171




                                 97
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 98 of 171




                     EXHIBIT 25




                                 98
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 99 of 171




                                 99
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 100 of 171




                         EXHIBIT 26




                                 100
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 101 of 171




                                 101
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 102 of 171




                         EXHIBIT 27




                                 102
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 103 of 171




                                 103
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 104 of 171




                                 104
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 105 of 171




                         EXHIBIT 28




                                 105
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 106 of 171




                                 106
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 107 of 171




                         EXHIBIT 29




                                 107
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 108 of 171




                                 108
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 109 of 171




                                 109
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 110 of 171




                         EXHIBIT 30




                                 110
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 111 of 171




                                 111
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 112 of 171




                         EXHIBIT 31




                                 112
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 113 of 171




                                 113
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 114 of 171




                         EXHIBIT 32




                                 114
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 115 of 171




                                 115
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 116 of 171




                                 116
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 117 of 171




                                 117
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 118 of 171




                                 118
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 119 of 171




                                 119
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 120 of 171




                         EXHIBIT 33




                                 120
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 121 of 171




                                 121
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 122 of 171




                         EXHIBIT 34




                                 122
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 123 of 171




                                 123
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 124 of 171




                         EXHIBIT 35




                                 124
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 125 of 171




                                 125
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 126 of 171




                                 126
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 127 of 171




                                 127
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 128 of 171




                                 128
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 129 of 171




                         EXHIBIT 36




                                 129
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 130 of 171




                                 130
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 131 of 171




                                 131
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 132 of 171




                         EXHIBIT 37




                                 132
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 133 of 171




                                 133
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 134 of 171




                                 134
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 135 of 171




                                 135
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 136 of 171




                                 136
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 137 of 171




                         EXHIBIT 38




                                 137
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 138 of 171




                                 138
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 139 of 171




                         EXHIBIT 39




                                 139
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 140 of 171




                                 140
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 141 of 171




                                 141
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 142 of 171




                                 142
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 143 of 171




                         EXHIBIT 40




                                 143
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 144 of 171




                                 144
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 145 of 171




                         EXHIBIT 41




                                 145
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 146 of 171




                                 146
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 147 of 171




                         EXHIBIT 42




                                 147
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 148 of 171




                                 148
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 149 of 171




                         EXHIBIT 43




                                 149
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 150 of 171




                                 150
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 151 of 171




                         EXHIBIT 44




                                 151
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 152 of 171




                                 152
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 153 of 171




                         EXHIBIT 45




                                 153
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 154 of 171




                                 154
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 155 of 171




                         EXHIBIT 46




                                 155
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 156 of 171




                                 156
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 157 of 171




                         EXHIBIT 47




                                 157
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 158 of 171




                                 158
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 159 of 171




                         EXHIBIT 48




                                 159
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 160 of 171




                                 160
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 161 of 171




                         EXHIBIT 49




                                 161
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 162 of 171




                                 162
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 163 of 171




                         EXHIBIT 50




                                 163
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 164 of 171




                                 164
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 165 of 171




                                 165
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 166 of 171




                                 166
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 167 of 171




                         EXHIBIT 51




                                 167
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 168 of 171




                                 168
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 169 of 171




                                 169
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 170 of 171




                                 170
Case 1:25-cv-00289-ABJ   Document 1-1   Filed 01/31/25   Page 171 of 171




                                 171
